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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Michael Kane; William Castro; Margaret Chu; Heather
Clark; Stephanie Di Capua; Robert Gladding; Nwakaego
Nwaifejokwu; Ingrid Romero; Trinidad Smith;
Amaryllis Ruiz Toro,

                                                        Plaintiffs,      21 Civ. 7863 (VEC)
                            - against -                                  DECLARATION OF
                                                                         LORA MINICUCCI
THE NEW YORK CITY DEPARTMENT OF                                          IN SUPPORT OF
EDUCATION, MEISHA PORTER, Schools Chancellor                             DEFENDANTS’
of the New York City Department of Education, in her                     OPPOSITION TO
official capacity, THE CITY OF NEW YORK, BILL                            PLAINTIFFS’ MOTION
DE BLASIO, Mayor of New York City, in his official                       FOR A PRELIMINARY
                                                                         INJUNCTION
capacity, DEPARTMENT OF HEALTH AND
MENTAL HYGIENE, and DAVE CHOKSHI,
Commissioner of the Department of Health and Mental
Hygiene, in his official capacity,
                                                      Defendants.

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        LORA MINICUCCI, declares, pursuant to 28 U.S.C. § 1746 and subject to the penalties

of perjury, that the following is true and correct:

        1.       I am an Assistant Corporation Counsel in the Office of Georgia M. Pestana,

Corporation Counsel of the City of New York, attorney for defendants in the above-captioned

action. I am familiar with the facts set forth herein. I respectfully submit this declaration in

support of defendants’ motion to dismiss the amended complaint. This declaration is based on

personal knowledge and a review of the files maintained by this office.

        2.       Attached hereto as Exhibit A is a copy of Order of the Commissioner of Health

and Mental Hygiene to Require COVID-19 Vaccinations dated August 24, 2021.
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       3.       Attached hereto as Exhibit B is a copy of the Order of the Commissioner of

Health and Mental Hygiene to Require COVID-19 Vaccinations dated September 15, 2021.

       4.       Attached hereto as Exhibit C is a copy of the Order of the Commissioner of

Health and Mental Hygiene to Require COVID-19 Vaccinations dated September 28, 2021.

       5.       Attached hereto as Exhibit D is a copy of the arbitration decision in Board of

Education of the City School District of the City of New York and the United Federation of

Teachers, Local 2, AFT, AFL-CIO, Re: Impact Bargaining, Decision Dated September 10, 2021.

       6.       Attached hereto as Exhibit E is a copy of the Arbitration Award in Board of

Education of the City School District of the City of New York and the Counsel of Supervisors and

Administrators (“CSA”) (Impact Bargaining), dated September 15, 2021.

       7.       Attached hereto as Exhibit F is a copy of Child Covid-19 Cases Rise in States

Where Schools Opened Earliest,          Yoree Koh, Wall Street Journal, Sept. 5, 2021,

https://www.wsj.com/articles/child-covid-19-cases-rise-in-states-where-schools-opened-earliest-

11630834201, last accessed on September 15, 2021.

       8.       Attached hereto as Exhibit G is a copy of Covid Cases Rise Sharply Among Kids

as School Year Starts, Ernie Mundell and Robin Foster, US News and World Reports,

https://www.usnews.com/news/health-news/articles/2021-09-03/covid-cases-rise-sharply-

among-kids-as-school-year-starts, last viewed on September 14, 2021.

       9.       Attached hereto as Exhibit H is a copy of Children and COVID-19: State-Level

Data    Report,     American     Academy      of    Pediatrics,     also   available   at         :

https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/children-and-covid-

19-state-level-data-report/, lasted viewed on September 14, 2021.




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         10.      Attached hereto as Exhibit I is a copy of CDC – Frequently Asked Questions

About the Covid-19 Vaccine, also available at https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/faq.html (“you should be vaccinated regardless of whether you already had

COVID-19”), last visited on September 15, 2021.

         11.      Attached hereto as Exhibit J is a copy of the declaration of Vicki Berstein, Chief

Human Capital Officer at the New York City Department of Education, in support of

Defendants’ memorandum of law in opposition to Plaintiffs’ application for a temporary

restraining order and preliminary injunction.

               I declare under penalty of perjury that the foregoing is true and correct.

Dated:            New York, New York
                  October 4, 2021
                                                                   /s/ Lora Minicucci        .
                                                                 LORA MINICUCCI
                                                                 Assistant Corporation Counsel




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